UNITED STATES DlSTRICT COURT
EASTERN DISTRICT OF WISCONSIN

DESIGN BASICS, LLC,

PRIME DESIGNS, INC. and

PLAN PRO, lNC.,

Plaintiffs,
v. Case No: l:l4-cv~1102-WCG

Lexington Homes, lnc., et al.,

Defendants.
DECLARATION ()F CARL CUOZZO

STATE OF NEBRASKA §

C()UNTY OF DOUGLASS §
Carl Cuozzo, hereby declare under penalty of perjury under the laws of the United

States of America:

l. Design Basics, LLC has been based in Omaha, Nebraska since the early 1980s and
is engaged in the business of creating publishing and licensing architectural plans
and designs My current title is “Senior Designer.”

2. Plan Pros, Inc. (“PPI”) has been based in Omaha, Nebraska since the early 20()()s,
and is engaged in the business of creating, publishing and licensing architectural
plans and designs l\/Iy title is “President.”

3. As a result of my job, l have personal knowledge of the facts set forth in this

declaration. My knowledge comes from reviewing Plaintiffs’ company records,

reviewing documents received in discovery and produced by the defendants in this

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case, including Defendants’ CAD files and blueprints showing 146 infringing plans
within Defendants" possession

DB is a small home plan design company located in Omaha, Nebraska that has been
engaged in the business of creating, marketing, publishing, and licensing the use of
architectural works beginning around 1983. As a part of this business, DB has the
need to protect its intellectual property from potential copyright theft. To this end,
DB has exercised its right to file lawsuits for copyright infringement through the
United States court system. l-lowever, it is not DB’s business model to tile lawsuits.
Plaintiffs are, and at all times relevant to this claim has been, the sole owner and
proprietor of all right, title, and interest in and to the copyrights in certain home
plans/designs published in various nationally-circulated home-design catalogs.
Since its inception in the early l98()s, DB has been a major, national publisher of
plan catalogs and no-cost, magazine-styled promotional mailers in which its
copyrighted Works are marketed. Additionally, prior to the advent of the World Wide
Web, it was the nations’ largest publisher of home plan catalogs, allowing its
customers to order plan catalogs either by phone, or by direct purchase in many home
improvement stores and lumberyards across America.

Since the advent of the World Wide Web, Plaintit`fs’ plans have been widely-
disseminated throughout the United States. DB maintains a Website,
www.designbasics.com, where, since 1996, it advertises and markets all of its

copyrighted Works through publishing designs in a user-friendly and easily

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accessible online storefront. PDI and PPI also advertise and market their respective
architectural works through publishing designs on the website,
www.designbasics.com, and through their marketing partners. As a result of these
marketing activities, Plaintiffs works have become ubiquitous in the marketplace
Among such works are the plans at issue in this case e DB’s “Aspen” and “Kendrick”
plans, PDl’s ‘“Taylor” plan, and PPI’s “Womack” plan.

On September 12, 201 l, Plaintiffs discovered that Defendants had been marketing
and selling three-dimensional copies of Plaintiffs’ Copyrighted Works by publicly
displaying infringing works on Defendants’ wehsite,
www.lexingtonneighborhoods.com and www.teamstimpson.com.

The lumberyard, Hoida Lumher & Components was a customer of DB, and between
1992 and 2()01, Hoida received 636 plan catalogs from DB, all containing DB’s plan
designs Attached hereto as Exhibit A is a true and correct copy of DB`s order
history with Hoida.

Defendants’ Accused Works are substantially similar to Plaintiffs" Copyrighted
Works in too many ways to have been the product of independent creation. As an
experienced draftsman, it is obvious to me the Accused Works were copied from
Plaintiffs’ Copyrighted Works. If one wishes to appreciate all the similarities in the
protectable elements of the Copyrighted Works, one must also consider the

following:

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The relationships, arrangement and composition of the spaces and elements;
The spatial relationships of the spaces and elements to all other spaces and
elements;

The sizes and shapes of the rooms, and their spatial relationships to each
other;

The arrangement and spatial relationships of the walls, flue chases, drop
downs, windows and doors within the floor plan;

The locations and spatial relationships between and among the placement of
appliances, counter tops, cabinets, and pantry in the kitchen;

The placement of closets throughout the house;

The locations of and spatial relationships between and among toilets,
shower/tubs and lavatories in the bathrooms;

The locations of porches, entryways, patios and front and rear or patio doors;
and

The “look and feel” of the plan, and the manner in which the traffic flows
through the house is itself an infringement of the arrangement and

composition of spaces and element

More specifically with respect to the above nine criteria, the plans at issue are
substantially similar because the overall flow and location of rooms, hallways,
bathrooms, access points and closets are substantially similar in both plans. The fact
that a room is a little larger or smaller, a roof is configured differently, or a builder
utilized different building materials does not take away from the fact that the
Accused Works and Copyrighted Works are substantially similar in the overall
design of the flow of the floor plans.

All of the works contained within DB’s home design catalogs, as well as all the

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works contained on DB’s website, www.designbasics.com, display DB’s copyright
management information ("‘Cl\/ll”), ensuring that all customers and potential
customers know that DB owns all rights and title to its copyrighted plans
Additionally, in multiple places within all of its plan catalogs and within all of its
plan catalogs and within its website, DB explains that its designs are copyright
protected, and advises consumers about how they can legally use its designs
Attached hereto as Exhibit B are true and correct copies of advertisements for the
Copyrighted Work prominently displaying Plaintiffs’ CMI. Attached hereto as
Exhibit C is a true and correct copy of a page from DB’s plan catalog explaining
this

However, when the Defendants infringements were first discovered, the accused
plans published on Defendants website did not display Plaintiffs’ Cl\/ll. Instead, the
pages displaying the infringing plans contained a notation which read, “© 2009
Lexington Homes, lndependently owned and operated.” Attached hereto as Exhibit
D are true and correct copies of web-captured images of the plan designs for
Defendants’ accused works

Additionally, through inspection of CAD drawings and blueprints produced by
Defendants during discovery, Plaintiffs found that on every document, Plaintiffs’
CMl had been removed, and replaced with Defendants` false designation in the title
block. Attached hereto as Exhibit E are true and correct copies of the plan designs

for Defendant’s accused works produced by Defendants in discovery.

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Under penalty of perjury l affirm that the above statements are true and correct.

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Carl Cuozzo

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